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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               8:13CR244
                 Plaintiff,
      vs.
                                                         ORDER
FROILAN CUEVAS,
                 Defendant.


     IT IS ORDERED that:

     1.     The defendant's Unopposed Motion to Continue sentencing (filing
            240) is granted.

     2.     Defendant Froilan Cuevas' sentencing is continued to Friday,
            July 11, 2014, at 11:00 a.m., before the undersigned United
            States District Judge, in Courtroom No. 4, Roman L. Hruska
            Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
            The defendant shall be present at the hearing.

     Dated this 14th day of April, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
